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      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK


                                                    Plaintiff,

       Donald J. Trump, et al.
                                                                    Case No. 1:19-cv-3826
                            -v-
                                                                          Rule 7.1 Statement
       Deutsche Bank AG; Capital One Financial
       Corp.
                                                    Defendant.




                     Pursuant to Federal Rule of Civil Procedure 7.1 [formerly Local
     General Rule 1.9] and to enable District Judges and Magistrate Judges of the Court
     to evaluate possible disqualification or recusal, the undersigned counsel for
      DJT Holdings LLC                                 (a private non-governmental party)

     certifies that the following are corporate parents, affiliates and/or subsidiaries of
     said party, which are publicly held.




      None.




              4/29/2019
                                                             s/ Marc L. Mukasey
     Date:
                                                         Signature of Attorney


                                                         Attorney Bar Code: MM1185




Form Rule7_1.pdf SDNY Web 10/2007
